Case 5:18-cr-00056-KOB-HNJ Document 64 Filed 05/20/19 Page 1 of 5            FILED
                                                                    2019 May-20 PM 02:04
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA
Case 5:18-cr-00056-KOB-HNJ Document 64 Filed 05/20/19 Page 2 of 5
Case 5:18-cr-00056-KOB-HNJ Document 64 Filed 05/20/19 Page 3 of 5
Case 5:18-cr-00056-KOB-HNJ Document 64 Filed 05/20/19 Page 4 of 5
Case 5:18-cr-00056-KOB-HNJ Document 64 Filed 05/20/19 Page 5 of 5
